Case 1:18-mj-02574-KBM Document 2 Filed 08/08/18 Page 1 of 4

AO 91 (Rev. 02/09) Criminal Complaint

 

UNITED STATES DISTRICT COUR,

for the AROS FUL rp

 

Tar,
District of New Mexico Queng,> Lis TRIn
&, NE; : he CO
Y pan SVU
United States of America ) LAyg 0 MExICS iT
PAEZ, Lucas ) Case No.
XXx-xx-0154 ) op Til
Defendant “

CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of _08/08/2018 in the county of Bernalillo in the District of

New Mexico , the defendant violated Title 18 U.S.C. § 922(g)(1)
, an offense described as follows:
On 08/07/2018, Lucas PAEZ, conspired with and delivered narcotics to Mark WENTWORTH to distribute two (2)
pounds of methamphetamine to an ATF undercover agent. In violation of Title 21 USC 841(a)(1), Title 21 USC 846, and
Title 18 U.S.C. 2.

 

This criminal complaint is based on these facts:
See Attached

a Continued on the attached sheet.

az

F L

Complainant's signature

Derek Wright, Special Agent, ATF

Printed name and title

 

Sworn to before me and signed in my presence.

Date: 08/08/2018 CALA Psy)

Judge's signature O

KAREN B. MOLZEN
City and state: Albuquerque, New Mexico U.S. MAGISTRATE JUDGE

Printed name and title

 

 
Case 1:18-mj-02574-KBM Document 2 Filed 08/08/18 Page 2 of 4

Criminal Complaint - Continued.

United States of America
V.
PAEZ, Lucas
SSN: 0154

 

1. I, Derek Wright , a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and
Explosives (ATF), being duly sworn, deposes and states:

|

|

2. Lama Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives
(ATF). Beginning in August of 2016, I attended a 26-week ATF academy in Glynco,
Georgia that certified me as an ATF Special Agent.

3. Asa Special Agent with the ATF and my prior experience as a law enforcement officer, I
have conducted physical surveillance, interviewed sources of information and defendants,
served search warrants and arrest warrants, investigated firearms and drug trafficking,
and assisted on undercover firearms and narcotic investigations. Further, I have testified
in judicial proceedings in federal court involving prosecutions relating to violations of
federal laws.

4. Tam an investigative, or law enforcement officer of the United States within the meaning
of Title 18, United States Code, Section 2510 (7), in that I am an officer of the United
States who is empowered by law to conduct investigations and make arrests for the
offenses enumerated in Title 18 and 26, United States Code.

5. The statements contained in this affidavit are based, in part, on information provided by
Special Agents and Task Force Officers of the ATF and other law enforcement officers;
on conversations held with police officers; and on my background and experience as a
Task Force Officer of the ATF.

6. This affidavit is intended to show only that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

PROBABLE CAUSE

7. On August 7, 2018, Special Agents with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF) conducted an undercover operation to purchase narcotics from Lucas
PAEZ.

7. SA King had conversation with Lucas PAEZ throughout the day via phone and text
conversations. Lucas PAEZ explained to SA King that they would meet the evening of
August 7, 2018, at approximately 1830 hours.

 
8.

10.

11.

12.

13.

14.

Case 1:18-mj-02574-KBM Document 2 Filed 08/08/18 Page 3 of 4

Previous conversation between Lucas PAEZ and SA King would purchase approximately
two (2) pounds of methamphetamine from Lucas PAEZ was determined that the purchase
of narcotics would be completed in Albuquerque, NM. For a cost of $ 5,500.00 a pound
and SA King would also pay Lucas PAEZ $ 4,200.00 for payment owed from a previous
narcotics purchase SA King had made.

SA King contacted Lucas PAEZ via telephone and they agreed to meet at the Star
Brewery located at 5700 San Antonio Dr. NE, Albuquerque, NM 87109. Upon
completion of the conversation at the Star Brewery, Sa King and Lucas PAEZ separated
from each other. Lucas PAEZ told SA King that he would have someone else drop off the
narcotics to him.

SA King returned to the La Quinta hotel in room 126 where he awaited the arrival of
Lucas PAEZ’s drug runner. SA King began to receive phone calls from one of Lucas
PAEZ’s cellphones that SA King had previously spoken to Lucas PAEZ on. The
individual that was speaking with SA King after the meeting with Lucas PAEZ, identified
himself as Mark, later identified as Mark WESTWORTH who was driving a silver car.
Mark WENTWORTH arrived at the La Quinta Inn at approximately 2200 hours on
August 7, 2018.

Mark WENTWORTH arrived at the motel in a silver Chevrolet Malibu bearing New
Mexico plate 951S YF and went to SA King’s room (126) where they met and had
conversation about the methamphetamine, how it was packaged and future narcotics
transactions. Upon completion of the purchase of the two (2) pounds of
methamphetamine, Mark WENTWORTH left room 126 and was immediately confronted
by law enforcement who advised that they were police and for Mark WENTWORTH to
lay on the ground. Mark WENTWORTH immediately began to flee on foot north but
only made it a short distance before being apprehended by ATF agents arrested in the
parking lot of the motel.

When Mark WENTWORTH was arrested he was in possession of two (2) firearms one in
an ankle holster being a Ruger, model LCP, .380 ACP caliber pistol bearing serial
number 372088295 and another firearm tucked into Mark WENTWORTH’s waistband
on his right rear hip being a Smith and Wesson, model M&P Shield, .40 caliber bearing
serial number HSE3710.

The narcotics, which were purchased by SA King from Mark WENTWORTH, were field
tested and tested positive for methamphetamine. The methamphetamine weighed 965
grams.

SA Wright spoke with Det. A. Montoya from the Albuquerque Police Department who
was assisting on the investigation and he explained that while he was doing surveillance
on Lucas PAEZ after the meeting at the Star Brewery, the last vehicle Lucas PAEZ met
with was the silver Chevrolet Malibu that Mark WENTWORTH arrived in.

 
 

Case 1:18-mj-02574-KBM Document 2 Filed 08/08/18 Page 4 of 4

15. Surveillance units lost sight of Lucas PAEZ around the time of the arrest of Mark
WENTWORTH and began to travel towards the La Quinta motel where the arrest was
taking place. While the arrest was being conducted on the north side of the motel
Detectives from the Albuquerque Police Department and DEA observed a dark in color
Chevrolet Silverado truck that was similar to the one Lucas PAEZ had been driving in all
day. Detectives followed the vehicle and affirmed that Lucas PAEZ was driving.
Albuquerque Police Detectives conducted a high-risk traffic stop on Lucas PAEZ and
took him into custody.

16. Mark WENTWORTH was advised of his Miranda rights. He was interviewed at the La
Quinta motel, and admitted to ATF Special Agent Rutland that he (WENTWORTH) was
in possession of the two (2) firearms to protect the narcotics and himself.

17. Lucas PAEZ was advised of his Miranda rights, interviewed at the La Quinta motel, and
admitted to ATF Special Agent Arnold that he (PAEZ) had received the narcotics from
his source of supply and he (PAEZ) supplied the narcotics to Mark WENTWORTH on
August 7, 2018, prior to Mark WENTWORTH meeting with SA King.

18. SA Wright conducted a criminal history query on Lucas PAEZ and found two (2)
previous felony convictions in cause numbers D-202-CR-200604479 for the charge of
Fraudulent use of a Credit Card (Without Consent) out of the Second Judicial District
Court, County of Bernalillo, State of New Mexico. Lucas PAEZ second conviction is in
cause number 10-cr-2602 for the charge of Trafficking Narcotics out of the United States
District Court for the District of New Mexico.

19. SA Wright opines there is probable cause to believe that Lucas PAEZ did violate Title 21
U.S.C. 841(a)(1) knowingly distributing a controlled substance, Title 21 U.S.C. 846
conspiracy to distribute a controlled substance, and 18 U.S.C. 2 aiding and abetting

Respectfully submitted,

[Serék Wright
Special Agent

ATF

Subscribed and sworn to before me
on August 8, 2018:

Vase. Preby

UNITED STATES MAGISTRATE JUDGE

 
